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16
                                      UNITED STATES DISTRICT COURT
17
                      EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
18

19   DESIREE MARTINEZ, FRESNO HOMELESS                    Case No. 1:22-cv-00307-ADA-SAB
     UNION, FAITH IN THE VALLEY, and ROBERT
20
     MCCLOSKEY,                                           JOINT STATUS REPORT
21
                              Plaintiffs,
22                                                        Judge: Hon. Ana de Alba
     v.
23
     THE CITY OF FRESNO,
24

25                            Defendants.

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     JOINT STATUS REPORT                           1                 Case No. 1:22-cv-00307-ADA-SAB
           Case 1:22-cv-00307-ADA-SAB Document 32 Filed 09/06/22 Page 2 of 5


 1          Pursuant to the Minute Order issued by the Court on August 31, 2022, Plaintiffs Desiree
 2 Martinez, Faith in the Valley, Fresno Homeless Union, and Robert McCloskey (collectively,

 3 “Plaintiffs”) and Defendant City of Fresno (“Defendant”) respectfully submit this Joint Status Report to

 4 address the following issues:

 5          I.     Procedural History
 6          On February 17, 2022, Defendant adopted language—over Plaintiffs’ protest—amending Section
 7 10-616 of the Fresno Municipal Code (“Section 10-616”), which became effective March 31, 2022;

 8          On March 16, 2022, Plaintiffs filed an action against Defendant in the United States District
 9 Court for the Eastern District of California, entitled Martinez et al. v. City of Fresno, Case No. 1:22-cv-

10 00307-DAD-SAB (the “Lawsuit”), alleging that Section 10-616 as amended violated the U.S. and

11 California Constitutions (ECF No. 1);

12          On March 30, 2022, Plaintiffs filed a motion for preliminary injunction seeking to enjoin
13 enforcement of Section 10-616 as amended (ECF No. 6);

14          On April 8, 2022, Defendant filed a motion to dismiss the complaint, or in the alternative, to
15 strike portions of the complaint (ECF No. 13);

16          On May 11, 2022, the Court held a hearing on Plaintiffs’ motion for a preliminary injunction and
17 deferred a hearing on Defendant’s motion to dismiss;

18          On May 24, 2022, the Court granted Plaintiffs’ motion for preliminary injunction and issued an
19 order restraining and enjoining Defendant City of Fresno from enforcing the amended provisions of

20 Fresno Municipal Code § 10-616 (ECF No. 25);

21          On June 23, 2022, Defendant introduced legislation to further amend Section 10-616 “and
22 remove[] the language adopted on February 17, 2022,” such that Section 10-616 was “restore[d] to its

23 original language” prior to the amendments at issue in the Lawsuit (Ordinance Item No. 22-205); 1

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     1
    City of Fresno, Item No. 22-1055, Legislation Details (With Text) (June 23, 2022) available at
28 https://fresno.legistar.com/ViewReport.ashx?M=R&N=Master&GID=392&ID=5700068&GUID=3BD6
   C619-0355-4925-AE97-20612DD9AE5A&Extra=WithText&Title=Legislation+Details+(With+Text).

     JOINT STATUS REPORT                                 2                      Case No. 1:22-cv-00307-ADA-SAB
           Case 1:22-cv-00307-ADA-SAB Document 32 Filed 09/06/22 Page 3 of 5


 1          On June 30, 2022, Defendant adopted its proposed legislation further amending Section 10-616
 2 and removing the disputed amendments from the Municipal Code effective July 31, 2022 (Ordinance

 3 Item No. 22-1086). 2

 4          II.     Case Status and Pending Motions
 5          In light of the foregoing procedural history, the Parties agree that Plaintiffs’ prosecution of this
 6 Lawsuit was meritorious and resulted in the Court’s issuance of a Preliminary Injunction. Subsequent to

 7 the Court’s ruling, the Parties have engaged in preliminary settlement discussions that likely moot any

 8 further litigation, including the City’s pending motion to dismiss (ECF No. 13).

 9          III.    Settlement Negotiations and Status Conference
10          The Parties are currently engaged in informal settlement negotiations to resolve the matter of
11 attorneys’ fees and costs, to which Plaintiffs are entitled. The Parties are hopeful that this matter can be

12 resolved without further intervention by the Court, but will seek direction from the Court if they are

13 unable to reach agreement. The Parties are aware of the Court’s busy docket and limited resources. They

14 therefore believe that neither a mandatory settlement conference nor a status conference is necessary at

15 this time.

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17 Dated: September 6, 2022                        Respectfully submitted,
18                                                 [Attorney Signatures on Following Page]
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27  City of Fresno, Bill B-16, Item No. 22-1086, Legislation Details (With Text) (June 30, 2022),
   available at
28 https://fresno.legistar.com/ViewReport.ashx?M=R&N=Master&GID=392&ID=5707520&GUID=76B3
   D81F-9F11-4934-B965-2DF40B582840&Extra=WithText&Title=Legislation+Details+(With+Text).

     JOINT STATUS REPORT                                  3                       Case No. 1:22-cv-00307-ADA-SAB
          Case 1:22-cv-00307-ADA-SAB Document 32 Filed 09/06/22 Page 4 of 5


 1
                                       AMERICAN CIVIL LIBERTIES UNION FOUNDATION
 2                                     OF NORTHERN CALIFORNIA, INC.

 3
                                       /s/ Chessie Thacher
 4                                     Chessie Thacher
                                       Hannah Kieschnick
 5
                                       Angelica Salceda
 6                                     Shilpi Agarwal

 7
                                       CALIFORNIA HOMELESS UNION STATEWIDE
 8                                     ORGANIZAING COUNCIL
                                       LAW OFFICES OF ANTHONY D. PRINCE
 9

10
                                       /s/ Anthony Prince [Authorized on Sept. 6, 2022]
11                                     Anthony Prince
12                                     Attorneys for Plaintiffs
13

14
                                       BETTS & RUBIN
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                                       James B. Betts
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                                       Attorneys for Defendant
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     JOINT STATUS REPORT                      4                    Case No. 1:22-cv-00307-ADA-SAB
Case 1:22-cv-00307-ADA-SAB Document 32 Filed 09/06/22 Page 5 of 5
